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         AO
          AO450
             450(GAS
                 (GASRev
                     Rev.09/20)
                          6/03) Judgment in a Civil Case



                                       United States District Court
                                                 Southern District of Georgia
                  ONE HUNDRED MILES,

                                           Plaintiff,
                                                                                    JUDGMENT IN A CIVIL CASE


                                            V.                                    CASE NUMBER:        4:21-cv-134

                  U.S. ARMY CORPS OF ENGINEERS, and COL. JOSEPH
                  GEARY, in his official capacity as District Commander of
                  the Savannah District,

                                            Defendants.




                     Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury
                     has rendered its verdict.

                     Decision by Court.This action came before the Court. The issues have been considered and a decision has been
            ✔
                     rendered.

                     IT IS ORDERED AND ADJUDGED
                     that, pursuant to the Order dated September 17, 2021, the Plaintiff's Complaint is dismissed without

                     prejudice. Defendant U. S. Army Corps of Engineers shall pay Plaintiff One Hundred Miles

                     thirty-one thousand, eight hundred and seventy-four dollars and sixty cents ($31,874.60) for costs

                     and attorneys’ fees incurred in litigating this case to date. This case stands closed.




           Approved by: ________________________________
                          ___________________________




           September 24, 2021                                                   John E. Triplett, Clerk of Court
           Date                                                                 Clerk



                                                                                (By) Deputy Clerk
GAS Rev 10/2020
